
Smith, Judge.
• Is the 18-year-old appellant, who committed an act of delinquency and was placed under the supervision of the *64juvenile court prior to the age of 17, still subject to the jurisdiction of that court even though the age of majority in Georgia is 18? The answer, yes, was recently provided by Judge Quillian in W. F. v. State of Ga., 144 Ga. App. 523 (241 SE2d 631) (1978). We have considered counsel’s resourceful arguments why we should overrule that recent decision, but we conclude the decision is soundly reasoned and correct.
Argued June 28, 1978
Decided July 13, 1978
Rehearing denied July 31, 1978
Hendrix &amp; Shea, Guerry R. Thornton, Jr., for appellant.
Andrew J. Ryan, III, District Attorney, Martin S. Jacket, Assistant District Attorney, for appellee.

Judgment affirmed.


Deen, P. J., and Banke, J., concur.

